Case 1:21-cr-00386-TNM Document 113

By: Pauline; Bauer:
EXECUTOR

PAULINE BAUER - VESSEL

UNITED STATES OF AMERICA

Vs.

PAULINE BAUER

Filed 02/22/22 Page 1 of 62

Leave to file GRANTED

th.

REVOR N. MCFADDEN.

United States District Judge ZY of 72.

 
  

Case # 21-cr-00386-TNM-2

MOTION TO DISMISS FELONY CHARGE §18 U.S.C. 1512(¢)(2)

The Defendant Pauline Bauer, hereby files this motion to dismiss felony charge §/8 U.S.C.

1512(c)(2).

First, the fact that the Congress was not in a joint session at the time of the breach and that a recess

had been called. Second, the defendant raises the constitutionality of the charges, the multiplicity

of the charges, vindictive prosecution, and selective prosecution.

The Government argues that the Defendant “corruptly” forced her way into the Capitol on January

6, 2021. The Defendant arrived at the East side of the Capitol approximately at 1:00pm to listen to

a speech by a Pennsylvanian Senator. The Defendant is unaware of how the fences came down,

Page 1 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 2 of 62

but there is a video of the Capitol Police removing the barriers. Many in the crowd were hesitant

to move forward toward the steps.

The prosecution argues that “the Defendant acting with consciousness or wrongdoing, and intent

to obstruct, impede, or interfere with a statutorily defined “official proceeding.”

In the statute 18USC1505 the word "corruptly" means acting with an improper purpose, personally
or by influencing another, including making a false or misleading statement, or withholding,

concealing, altering, or destroying a document or other information.

Again, the Defendant did not travel to Washington DC on January 6, 2021 to corruptly attempt to
do anything, but let the Congress know that the people needed to be heard. The Government
accuses the Defendant of organizing bus trips that the Defendant did not do as only 2 persons went
and 13 were interested. The Government argues that the Defendant could have contacted the
Congress and the Senators to put pressure on them to investigate the 2020 election. The people
already attempted by calling, emailing, and attending rallies, as well as signing petitions, speaking
out against draconian lockdowns. Many took to the polls as poll watchers, and witnessed voter
fraud. Pennsylvania adopted Act 77, which violated the State Constitution. The people had

exhausted all means of petitioning the Government.
YouTube video Main Columbus Doors 1-45 - 4-00 pm 34 video sync.mp4 see exhibits 1-8

the doors, with only a few officers present. The video 0686 USCH 02 Interior doors shows the
windows broken before the crowd entered, but the prosecution has yet to provide the Defendant

with the evidence of how these doors got open and the windows being broken, as well as how the

Page 2 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 3 of 62

brass doors were opened. The CCTV video shows the capitol police leaving the doors as people
from the inside show up to open the doors. The prosecution is stating that an angry mob entered
from the Senate Wing doors at 2:13pm, but has yet to provide the evidence of how the people
entered. The Government alleges that the angry mob entered at 2:13pm and then again, a half hour
later at 2:43pm. The defendant argues that with the limited amount of security present, the police
would not have been able to hold off an angry mob of people for over a half hour. The timing of
all three areas being breached at the same time makes one wonder if this was more than co-
incidental. One would have to wonder and maybe the Speaker of the House should take
responsibility for not accepting the 10,000 National Guards men that President Trump offered. It
is complete disgrace that a crowd of unarmed individuals could breach one of the most secure

buildings in the United States without much force. What would they do if they were attacked by

armed terrorists?

The word “proceeding is followed by the preposition “before”. The “proceeding” must be “before”
a judge, court, or grand jury, “before” the Congress of the United States, “before” a federal agency
conducting a matter “authorized by lay, or “before” an insurance regulator or examiner. That
structure provides two insights into the meaning of “official proceeding”. First, it indicates that the
actions or events that constitute the “proceedings” at issue must comprise part of the official
business of the enumerated body. The fact that the defined term contains the adjective “official”
merely reinforces this conclusion 18 U.S.C. 1512(c) + 1515(a)(1). Second, the phrase “proceeding
before” suggests that the body has convened in some formal respect for the purpose of conducting
that business. The Court, accordingly, concludes that “a proceeding before Congress” requires

more that “an action or series of actions” and that not every event occurring within the walls of

Page 3 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 4 of 62

Congress constitutes an “official proceeding”. The proceeding “must involve a formal assembly
or meeting of Congress for the purpose of conducting official business. This interpretation accords
with commonly accepted legal definitions of the word “proceeding” which defines the word to
mean among other “[t]he business conducted by an official body.”, Proceeding, Black’s law
dictionary (11th ed. 2019) United States v. Montgomery (D. D.C. 2021). The defendants in this
case argue strongly but failed to state the fact that in order for the Congress to conduct an “official
proceeding”, they must be in a “joint session”. A debate before separate Houses would not be an
“official proceeding”. At 12:30:37 the Senate met in the Senate Chamber. The prosecution argues
that the Defendant interrupted an “official proceeding” of the joint session of the Congress. The
joint session met in the House of Representatives where at 13:07 the Vice-President addressed the
gentleman from Virginia: “Under Title 3 of the United States Code a debate is not permitted in the
joint session.” At 13:07:27, the gentleman from Virginia says: “The parliamentary enquiry Mr.
Vice-President. I am not attempting to debate. I’m trying to find out how a parliamentary inquiry
or parliamentary point of order would be made following with the Speaker’s request that most of
us not be on the floor, how do you make one of those points of order, when you don’t know what’s
going to happen later?” Mike Pence states: “The gentleman’s parliamentary inquiry constitutes
debate which is not permitted in the joint session under Section 18 of Title 3 United States Code.”
At 13:14:17, the Congress and the Senate ended the joint session and retired to separate Chambers
to debate the counting of electors for the State of Arizona. A debate does not constitute an “official
proceeding”. The word “debate” is not found in any law dictionary. If the prosecution wants to

argue that a “debate” in terms of:the Webster’s dictionary means a “formal argument”, which is

not an “official proceeding.”

Page 4 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 5 of 62

The Court must also decide on the nexus of the precise timing. At 14:13:37, (see exhibit 11-12)
the Vice-President announced: “We will stand in recess until the Call of the Chair.” From the
evidence that the Defendant has reviewed, there is no forced entry and the Capitol is absent of any
so-called “rioters” as of 14:13:37, unless the Government has evidence that they seem to be
“stonewalling” from the Defendants. In any investigation, the initial breach would be the first
evidence to be released. According to the Isocam footage, the senate is cleared at 14:33:21 (see
exhibit 13) the first people to walk through the Senate doors (without force) into the Senate
Chamber was at 14:44:38 (see exhibit 14-34). If there was an angry mob that forced the Senate to
evacuate, why would it take over 30 minutes to reach the Senate floor? The doors were not locked
nor were they broken into. The Government also alleged that the Vice President was in the Capitol,
but the defendant has a picture from the senate floor that proves he was not in the senate at 14:14
which, would also suggest that the secret service was not present either. The Government also

alleges that Kamala Harris was present in the capitol, which she was not. (see exhibit 12)

The Government argues at the constitutionality of the statute, but the Government needs to be
reminded that there are Supreme Laws that serve as the preamble to United States Code: The

Declaration of Independence, the Articles of Confederation, the Northwest Ordinance, and the

1787 Constitution for America.

_ “We hold these truths to be self-evident that all Men are created equal, that they are endowed by
their Creator with certain unalienable rights, that among these are Life, Liberty, and the Pursuit of
Happiness — That to secure these Rights, Governments are instituted among Men, deriving their

just Powers from the Consent of the Governed, that whenever any Form of Government becomes

Page 5 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 6 of 62

destructive of these Ends, it is the Right of the People to alter or to abolish it, and to institute new
Government laying its Foundation on such principles, and organizing its Powers in such Form, as
to them shall seem most likely to effect their Safety and Happiness. Prudence, indeed, will dictate
that Governments long established should not be changed for light and transient Causes; and
accordingly all Experience hath shewn, that Mankind are more disposed to suffer, while Evils are
sufferable, than to right themselves by abolishing the Forms to which they are accustomed. But
when a long Train of Abuses and Usurpations, pursuing invariably the same Object, evinces a
Design to reduce them under absolute Despotism, it is their Right, it is their Duty, to throw off

such Government, and to provide new Guards for their future Security.”

A fundamental right under the constitution is an individual right that is given the highest levels of
judicial protections from interference by Legislation or executive action. A fundamental right may
not be burdened or abridged by a law or actions by government officials unless the law or action
is in furtherance of a compelling governmental interest that is pursued by the means narrowly
tailored to least burden of that fundamental right. [T]hose rights that are “deeply rooted in this
Nation’s history and tradition.” Moore vs. City of East Cleveland, 431 U.S. 494,503 (1977)
(Powell, J) “This court like all article IJJ courts is one of limited jurisdiction, we cannot decide
cases that we lack Constitutional authority to decide.” Wyoming Outdoor Council vs. U.S. Forest
Service 165 F 3d 43,47 (DC Cir. 1999) “We are empowered to hear only cases or controversies
U.S. Constitution Art. IIT Section 2. We ascertain whether or not the matter before us is a “case”
or a “controversy” by looking to page 1157 whether Inter Alia the litigants here standing Wyoming

Outdoor Council 165 F.3d at 48. The “irreducible Constitutional minimum of standing contains

three elements:

Page 6 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 7 of 62

(1) The Plaintiff must have suffered injury in fact, an actual or imminent invasion of a legally
protected concrete and particularized interest;
(2) There must be a causal connection between the alleged injury and the defendant’s conduct

at issue, and

(3) It must be likely not speculative that the Court can redress the injury.

Constitutional right — A right protected under the Constitution, Constitutional right may be the
most important contemporary sense of right. Although the courts are careful to base all Federal
Constitutional Rights on the U.S. Constitution as enacted in 1787 and as amended, by tradition,

certain ideas regarding those rights and understood to have arisen from the period of the Framing,

reaching back to the Declaration of Independence.
Constitutional rights take four major forms.

First is liberty, or negative rights, the constitutionally protected ability to engage in certain conduct
or to hold certain status and in doing so to be protected from interference by police or other agents

of the government, unless that interference is very well justified.

Second is a privilege, or positive right, the constitutionally protected ability to call upon agents of
the government to assist in performing certain conduct or to hold certain status and in doing so to
be protected from interference by other government agents and by private parties as well as, in

some instances, to be provided resources. The rights to habeas corpus and, where it is a right, to

education.

Page 7 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 8 of 62

Third is a procedural right, the constitutional requirement enforceable by the citizen in certain
ways, according to certain rules, and in consultation and agreement with one another. The rights

to laws made according to specified procedures, to trial by jury, end to be free from torture.

Fundamental to all these rights is a constitutional right in each individual that the agents of the
government will abide by the Constitution and do nothing through the power of state that is not

allowed to them to do by the Constitution. The right not to be taxed for unlawful purpose is an

example.

A civil right implies a greater emphasis on the idea that the right is inherent in a person’s being or
in the person’s citizenship. Thus, a suspension of the Constitution cannot limit a civil right that
exists before and will exist after a Constitution. The structure of the U.S. Constitution and its Bill
of Rights suggests that the framers of these instruments applied ideas in balancing these differences
in emphasis in this way; the rights they considered in the Constitution were inherent in each person,
existed before the Constitution, rather than being conferred there, but the Constitution creates
obligations on all officials whose offices are derived from, or limited by the Constitution, and the

Constitution added obligations upon them to respect and enforce these rights.

The Statute 18USC1512(c)(2) has a legislative history that must be examined by the courts to
determine its Constitutionality pertaining to its creation. “Legislative history is the textual,
Political, and archival record of a statute or bill as it moves from idea to draft a bill then through
the process of introduction or sponsorship, committee review, debate, amendment, voting passage
to the other chamber for a similar process reconciliation if needed executive treatment and if

needed legislative response.” Journal entry- A recording of a legislative action. A journal entry (in

Page 8 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 9 of 62

the context of legislative record) is the recording of a vote transmittal, report, or other action related
to a particular legislative body or to a given piece of legislation. Journal entries are often the

primary source of official legislative history. Bouvier Law dictionary.

“Generally, the courts have no power to require alteration or publication of an entry in a legislative

journal, owing the limits of Separation of Powers.” Hoover Vs. Bd. Of County Commis. 482 N.

Ed. 2d 575,579 (Ohio 1985)
As defined in the Bouvier Law Dictionary (2012 Edition):

The defendant also argues that never in Judicial history has this statute been used to prosecute
anyone who entered the capitol rotunda when there actually was an official proceeding in front of
a Judicial hearing. Look to the Kavanaugh hearings or the Iran Contra hearings. During a
Congressional assembly to vote on providing $100 million in military aid to Contra Rebels in
Nicaragua, eighteen appellants were charged with unlawfully demonstrating with the United States
Capitol building, in violation of D.C. Code 9-112(b)(7) (1989) D.C. Code 9-112(b)(5) (1989) D.C.
code 22-3102(1989) Berg v US, 631 A. 2d 394 (D.C. 1993). They urged the courts to follow
Wheelock v. United States,552 A. 2d 503 (D.C. 1988)" in which the court reversed the convictions
of a group of fifty persons who had participated in a demonstration in the Capitol Rotunda." [631
A. 2d 398] " which is at the very heart of the United States Capitol Building, is a "unique situs for
demonstration activity" and "a place traditionally open to the public...to which access cannot be
denied broadly or absolutely..." Wheelock supra 552 A. 2d at 506" A policy which results in the
closing of the Rotunda when people exercise rights protected by the First Amendment, but in the

Rotunda remaining open when such rights are not being exercised, penalizes and chills

Page 9 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 10 of 62

constitutionally protected activity..." During the Iran Contra hearings, appellants used a large
banner that read "ask about cocaine smuggling" they were charged with 9-112(b)(4) (1989) 9-
112(b)(7) (1989). Bardoff v. US, 628 A. 2d 86 (D.C.1993) Abney v. US, 616 A.2d 856(D.C. 1992)
"Under D.C. Code section 22-3102 (1989) a person who enters on public or private property
without lawful authority or who refuses to leave on demand of one lawfully in charge of that
property may be convicted of unlawful entry. This court has held that when public property is
involved, in order "to protect the unlawful entry statute from unconstitutional vagueness and to
protect First Amendment rights, ... the government must prove not only that a person lawfully in
charge of public premises has ordered the defendant to leave but that there is some additional
specific factor establishing the party's lack of a legal right to remain." quoting Wheelock There
are numerous videos of the capitol police taking down the fences and waving people in and also
backing up and letting people move forward to the middle of the steps on the east side of the
capitol. The doors were open and the defendant entered through an open door. The defendant did
not hear the DC police tell people to leave. In the body cam video there are police pushing other
officers into people and there are people pushing others into the officers. The guy with the flag
pushes a man in a carhart jacket into the police and the other guy who was telling people to go to
the next entrance, also pushes Daniel Gray into the police. The CCTV Video shows there are
certain individuals who are pushing and shoving the police and vice versa. (see exhibits 35-38)
The crowd was peaceful and sang the National Anthem prior to entering. The defendant is
extremely embarrassed for screaming and swearing for 1-1/2 minutes and wishes she would have
been more observant to this being a complete setup. She got caught up in the crowd was maced

and was upset. The defendant should not have lost her temper, but she did not hurt anyone or

Page 10 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 11 of 62

damage anything. The defendant would also like to know if it is customary for the capitol to have

plywood attached to the UWT entrance or was this installed so that people could hang from it (see

exhibit3 5-37)

KOWITZ V. U.S. 598 A. 2d398 (D.C. 1991). "this

court has recognized and adopted the Supreme Court's classification of types of government
property for purposes of first Amendment analysis." Pearson v. United States, 581 A. 2d 347, 349,
351-352 (D.C. 1990). " The consideration of such classifications, commonly referred to as "forum
analysis”, is employed by the court to weigh the government's interest in limiting the use of its
property against the competing interests of those who wish to use the property to conduct
expressive activity." Cornelius v NAACP Legal Defense & Educ. Fund, 473 U.S. 788, 800, 105
S. Ct. 3439, 3447, 87L.Ed. 567 (1985). "The first category, traditional public forums include
property that has a "long tradition of devotion to assembly and debate" Pearson supra, 581 A. 2D
at 351. On such property, "the rights of the government to restrict expressive activity are very
limited." Id. If a "government regulation discriminates among speech-related activities in a public
forum, the Equal Protection Clause mandates that the legislation be finely tailored to serve
substantial state interests, and the justifications offered for any distinctions it draws must be
carefully scrutinized." Carey v Brown, 447 U. S. 455,461-62,100 S. Ct. 2286,2290-91, 65 L. Ed.
263 (1980) "The second category includes what are referred to as designated public forums,
encompassing public property that is not a public forum by tradition but that the state has

designated for public use usually for limited expressive activity." Pearson Supra, 581 A. at 351.

Ashwander Vs. Tenn. Valley Auth. 297 U.S. 288 347-348 (1936) (Branders J.) concurred.

Bauers v. Heisel 361 F.2d 581 (3 Cir. 1966) [361 F.2d 587]

Page 11 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 12 of 62

“First it is well settled that a statute should not be considered in derogation of the Common Law

unless it expressly so states or the result is imperatively required from the nature of the enactment.”

“His concluding remarks — that the statute there being construed could not be read as impliedly
abrogating judicial immunity are peculiarly applicable here. Ought such a sacred principle of the

Common Law*** be subverted without an express declaration to that effect?” [361 F.2d 585]

“Did Congress by general language of its 1871 Statute mean to overturn the tradition of legislative
freedom achieved in England by Civil War and carefully preserved the formation of State and

Natural Gov’ts here?” 34 U.S. at 376 71 S.Ct. at 788.

*** “We cannot believe that Congress — itself a staunch advocate of legislative freedom — would
impinge on a tradition so well grounded in history and reason by covert inclusion in the general

language before us.” Ibid Tenney v. Brandhove 341 U.S. 367 21 S.Ct. 783 95 L Ed. 1019 (1951)

Every person who, under the Color of any statute, ordinance, regulation, custom, or usage, of any
state or territory, subjects, or causes to be subjected, any citizen of the United States or other person
within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured
by the Constitution and laws, shall be liable to the party injured in an action at law, suit in equity,

or other proper proceeding for redress” RS §1979 U.S.C.A 43.
Tenney v. Brandhove 341 U.S. 367 21 S.Ct. 783 95 L Ed. 1019 (1951), page 373

“Freedom of speech in action in the legislature was taken as a matter of course by those who
severed the colonies from the Crown and founded our nation. It was deemed so essential for

representatives of the people that it was written into the Articles of Confederation, and later into

Page 12 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 13 of 62

the Constitution. Article V of the Articles of Confederation is quite close to the English Bill of
Rights Freedom of Speech and debate in Congress shall not be impeached or questioned in any
court or place out of Congress. Art. I Sect. 6 of the Constitution provides*** for any speech or

debate in either House (the Senators and Representatives) shall not be questioned in any other

place.” Page 373

“The Maryland Declaration of Rights, Nov.3, 1776, provided: that freedom of speech, and debates
or proceedings in the legislative ought not to be impeached in any other court or judicative, Art. VIL.
The Masenchusens Constitution of 1780 provided “The freedom of deliberation, speech, and
debate, in either House of the Legislative, is so essential to the rights of the people, that it cannot

be the foundation of any accusation or prosecution, action or complaint, in any court or place

whatsoever.” Part 1 Art. XXI

Chief Justice Parsons gave the following gloss to this provision in Coffin vs Coffin, 1808, 4 mass.
127: “These privileges are thus securely not with the intention protecting the members against
prosecutions, for their own benefit, but to support the rights of the people, by enabling their

representatives to execute their functions. Page 377

“this court has not hesitated to sustain the rights of private individuals when it found out Congress

was acting outside its legislative role.” Kilbourn vs Thompson, 103 U.S. 168 26 L Ed. 377” ©

Page 381

“Tt does not seem inappropriate to point out that it is the right of every person in this country to

have his say, however unorthodox or unpopular his opinions maybe, is guaranteed by the same

Page 13 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 14 of 62

constitutional amendment that protects the free press. Those who cherish freedom of the press here
would do well to remember that this freedom cannot long survive the legislative stuffing art of

freedom to believe and freedom to speak.” Mr. Justice DOUGLAS Page 382

“It is speech and debate in the legislative department, which out constitutional scheme makes
privileged, included of course, are the actions of legislative committees that are authorized to
conduct hearings or make investigations so as to lay the foundation for legislative action. But we
are apparently holding today that actions of those committees have no limits in the eyes of the law.
May they depart with impunity from their legislative functions, sit as kangaroo courts, and try men
for their loyalty and their political beliefs? May they substitute trial before committees for trial
before juries? May they sit as a board of censors over industry, prepare their blacklists of citizens,

and issue pronouncements as devastating as any bill of attainder.” Page 383

“That result is the necessary consequence of our ruling since the test of the statute, so far as material
here, is whether a constitutional right has been impaired, not whether the domain of the committee
was traditional. It is one thing to give great leeway to the legislative right of speech, debate, and
investigation. But when a committee perverts its power, brings down on an individual, the whole
weight of the government for an illegal or corrupt purpose, the reason for the immunity exists. It
was indeed the purpose of this civil rights legislation to secure federal rights against invasion by

officers and agents of the States.” 8 U.S.C 47(3) 8 U.S.C.A. 47(3)

See Jefferson notes on the State of Virginia (3 Am. Ed. 1801) 174-175 a letter from Jefferson to

Madison, March 15, 1789: ‘The tyranny of the legislatures is the most formidable dread at present,

and will be for long years.”

Page 14 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 15 of 62

Barsky vs. United States 167 F.2d 241, 83 U.S. App. D.C. 127 (D.C. Cir. 1948) 147 F.2d 245

“The basic concept of the American System, both historically and philosophically, is that the
government is an instrumentality created by the people, who alone are the original possessors of

rights and who alone have the power to create government.”

“The prime function of government, in the American concept, is to preserve and protect the rights

of the people. The Congress is part of the government thus established for this purpose.”

Edgerton, Associate Justice

“In my opinion, the House committee’s investigation abridges freedom of speech and inflicts
punishment without trial; and the statute the appellants are convicted of violating provides not
ascertainable standard of guilt. It follows that the convictions should be reversed on constitutional

grounds.”167 F.2d 263

“A court might as well be asked to enforce a statute which in terms merely penalized and punished
all acts detrimental to the public interest*** So vague and indeterminate are the boundaries thus

set to the freedom of speech*** that the law necessarily violates the guarantees of liberty.”

Sinclair v. United States 279 U.S. 263, 296, 298

“It does not follow as the government suggest, that pertinence which cannot be determined by any
ascertainable standard will do. On the contrary, in the recent Musser case, quoted above, the Court
declared that reasonable standards are necessary not only “to give adequate guidance to those who

would be law-abiding” but also “to guide courts in trying those who are accused.”
Screws v. United States, 325 U.S. 91 65 S.Ct. 1031, 89 L Ed. 1495 162 A.R.1330 (1945) Page 96

Page 15 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 16 of 62

“But even so the Act would incorporate by reference a large body of changing and uncertain law.
That law is not always reducible to specific rules, is expressible only in general terms, and turns
many times on the facts of a particular case. Accordingly, it is argued that such a body of legal

principles lacks the basic specificity necessary for criminal statutes under our system of

government. “Page 104

“Tt is said however that this construction of the Act will not save it from the infirmity of vagueness
since neither law enforcement official nor a trial judge can know with sufficient definiteness the
range of rights that are constitutional. But that criticism is wide off the mark. For the specific intent
required by the act is an intent to deprive a person of a right which has been made specific either

by the express terms of the Constitution or laws of the United States or by decisions interpreting

them.”
Cherokee Nation vs. Nash, 267 F.Supp.3d at 86 (D.DC 2017)

“Rule 56(a) mandates that the court shall grant summary judgement if the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to judgement as a matter of

39

law.
O.A. v. Trump, 404 F.Supp.3d 109 (D.DC 2019) 404 F.Supp.3d 134:
“In a way that a social challenge to a regulation of general applicability does not.” At 136:

“Under the line of authority, courts must presume that Congress does not intend to limit

Jurisdiction if a finding of preclusion could foreclose all meaningful judicial review.

Page 16 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 17 of 62

If the suit is wholly collateral to a statute’s review provisions; and if the claims are outside the

agency’s expertise.” 489-90 (quoting Thunder basin Coal Co. 510U.S at 212-13 At 140:

“There is no reason to believe that Congress intended to cede to the government the unique

capacity to shift fora at its whim.” Page 141

Spokeo inc. v. Robins, 1365 Ct 1540

“To demonstrate Article HI standing, a plaintiff must demonstrate a “concrete and particularized”

injury that is fairly traceable “to the defendant’s conduct and that is likely to be redressed by a

favorable judicial decision.” Page 144

“and the Supreme Court has “always conspicuously included the word “arguably” in the test to
indicate that the benefit of the plaintiff the test foreclose suit only when a plaintiff interests are so
marginally related to or inconsistent with the purpose implicit in the statute that it cannot

reasonably be assumed that Congress intended to permit the suit.” Id. (quoting Clarke, 479 U.S. at

399 1075 Ct. 750)

Schooner / Charming Betsy Conon

Sharps vs. United States (D.DC 2021)

Jennings vs. Rodriguez 138 S.Ct. 830, 843 (2018)

“Constitutional avoidance is an interpretive tool, counseling that ambiguous statutory language be

construed to avoid serious constitutional doubts”

Page 17 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 18 of 62

843 explaining that the doctrine of constitutional avoidance is pertinent when a court must choos[e]
between competing plausible interpretations of a statutory text but merely “[s]potting a

constitutional issue does not give a court authority to rewrite a statute as it pleases.”

Fleming v. United States, 224 F.3d 213 (D.DC 2020)

“explaining that the rule of lenity is to be invoked only where the statutory language, structure,

purpose, and history leave the intent of the legislative in genuine doubt.”
Lewis v. Casey, 578 U.S. 343, 355, 116 S.Ct. 2174, 135 Led 2d 606 (1996)

The defendant also argues on the multiplicity of the charges 18 USC 1512(c)(2), 1752(a)(2) and
40 USC 5104(e)(2)(d) are overlapping. US vs. Giampietro 475f.Supp. 3d 779 (M.D. Tenn. 2020
at 788-790 Blockburger states that “where the same act or transaction constitutes a violation of
two distinct statutory provisions, the test to be applied to determine whether there are two offenses
or only one, is whether each provision requires proof a fact which the other does not.” 284U.S.at
304, 52 s.ct.180.This is also known as “the same elements test”, U.S. v Farah, 766 F.3d. 599,606
(6" Cir. 2014), because “the Blockburger test focuses on the proof necessary to prove the statutory
elements of each offense, rather than on the actual evidence to be presented at trial.” Illinois s.

Vitale, 447 U.S. 410, 416, 100 S. Ct. 2260, 65L. Ed. 2d 228 (1980)

The multiplicity of the three statutes 18USC1512(c)(2) and 1752(a)(2)and 40USC5104(e)(2)(d)
1752(a)(2)knowingly, and with the intent to impede or disrupt the orderly conduct of Government

business or official functions, engages in disorderly or disruptive conduct in, or within such

Page 18 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 19 of 62

proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions;

18USC1512(c)(2) Whoever corruptly otherwise obstructs, influences, or impedes any official

proceeding, or attempts to do so.

40USC5104(e)(2)(d) utter loud, threatening, or abusive language or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a

committee of Congress or either House of Congress. All three of these statutes use the word

“impede”

The defendant argues Vindictive Prosecution as a due process violation under the Federal

Constitutional standards

1) The exercise of a protected right

2) A prosecutorial stake in the exercise of that right.

3) Unreasonableness of the prosecutor's conduct

4) The intent to punish the defendant for exercise of a protected right.

"Presumably if the first three elements are present, that there is the required "realistic likelihood

of vindictiveness, which the Government would have to rebut"

Page 19 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 20 of 62

see Bragan v. Poindexter 249F 3d 476 481-82 (6th Cir. 2001) citing United States vs. Andrews

633 F. 2d
Furthermore, the Defendant claims Selective Prosecution.

1. Others similarly situated generally had not been prosecuted for conduct similar to
petitioners.

2. “The government’s discriminatory selection was based on impermissible grounds as race,
religion, or exercise of first amendment rights.” Wayne vs. USA 170 US 598549 F.Supp.
1376138 (C.D. Cal.1982)

“Disparate treatment of similarly situated person equal protection claim of selective prosecution.”
Jackson vs. City of Hearne, 959 F.3d. 194(5" Cir. 2020) at 201.

“Federal prosecutors have “broad discretion” in enforcing laws and a presumption of regularity
attaches to their prosecutorial decisions.” U.S. vs. Cannon 987 F. 3d. 924(11" Cir. 2021) at 936-7
Selective Prosecution is an “Unconstitutional Manner” must show that the Federal Prosecutorial

policy had a discriminatory effect and that it was motivated by a discriminatory purpose.”

1. The discriminatory effect prong of this test requires showing similarly situated individuals
were not prosecuted.
All of these defendants were charged with the felony 18USC1512(c)(2) for their actions
on January 6, 2021 and were offered plea deals to a misdemeanor.
21-cr-125 Brian McCreary

21-cr-139 Rachael Lynn Pert

Page 20 of 21
2.

Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 21 of 62

21-cr-139 Dana Joe Winn

21-cr-Jeffery Sane Witcher

21-cr-277 Kevin Francisco Cordon

21-cr-68 Jenny Louise Cudd

21-cr-68 Eliel Rosa

21-cr-71 Karl Dresch

21-cr-271 Dawn Bancroft (entered the Chambers, quoting “looking for Pelosi to shoot her

in the freakin’ head, but couldn’t find her’’)
“The discriminatory effect prong of this test requires the decision maker selected or reaffirmed a
particular course of action, at least in part because of not merely in spite of its adverse effect upon

an identifiable group.” United States v. Wasserman (M.D.Fla. 2021) (10/08/21)

In conclusion, the Defendant asked that the felony charge 18 U.S.C. 1512(c)(2) be dismissed on
these arguments: The debate in separate houses not constituting an “Official Proceeding, the nexus
of the timing of the recess to the “call of the chair” Constitutionality of the statute, Multiplicity of

the charges overlapping, and Vindictive and Selective Prosecution.

i

a
Lach,. LAL
By: LV Lye (4 “Laas

Made by vee this ''"" day of February 2022

Page 21 of 21
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 22 of 62
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 23 of 62

EX h) b> -

y= A 7
I i co)

3:13 PMI

ouTube video Main’Columbus "Doors 1=45=4=-00 pm ey Mice sync

ie ET WAN ODN
ouTube ee Fela Sint bus Doors1=45=4-00 pm 34 wee ane

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 24 of 62

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 25 of 62

eydob if S

 

ECONO ene I

oulube video Main'Golumbus Doors 1=45 = 4-00 pm 34 video sync
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 26 of 62

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 27 of 62

exh bk s

     

2.32: 38'PM
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 28 of 62

pythib t

 
ee Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 29 of 62

rx Abel

2:37:59 PM|

4 video sync

"Let's make Sure We
keep it!”

Gon frankiia ‘

 

ouTube-video: Main Columbus Doors 1=45 = 4-00 pm'34 video sync
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 30 of 62

yA, oF se

2:38:59 PIV

ouTube'video Main Columbus Doors 1- “AS = -4=00°pnv34 video sync

r
oe
ca
a
2”
yd
t'
z
:

ee ee} RAGE ETV)

ouTube video Main Columbus Doors 1-45 = 4-00 Pa 34 video Bir

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 31 of 62

SENATE_FLOOR_010621_1329P_1414P (1)

 

Sheu at rea ss 0 wt Yha Cowl of Thee
Choc.
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 32 of 62

(a

pa Er oT

-

SENATE_FLOOR.010621 1329P_1414P (1)

 

een 177) ICN Yt
11/7 CONGRESS, |= SESSION

THE SENATE STANDS IN
RECESS SUBJECT TO THE ~4\

CALL OF THE CHAIR. Hi

 

 

SENATE_FLOOR_010621_1329P_1414P (1)

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 33 of 62

L021_01_06_ISOCAM4_SENFL_2

 

'021_01_06_ISOCAM4_SENFL_2

Oem tera avs)

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 34 of 62

021_01_06_ISOCAM4_SENFL_2

ICG 14:46:59;26

 

~s

0210106 ISOCAMS_SENFL1* =*
ICG 14:44:32;05

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 35 of 62

 

 

i |
a f
=f |
re U At 5
ral ano w
yi ee |
ys |

ae
yy t
ee, f
| A

021_01_06_ISOCAM6_SENFL_1

NOL iPr aha)

 

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 36 of 62

~~

021.01.06.ISOCAM6_SENFL1

Oem Reyes

 

)}

 

TCG 14;57;52;19

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 37 of 62

 

 

 

a

021%01.06-ISOCAMG SENFE1
OCMC Moy mor Bets:

oe

 

 

 

021. 01.06 ISOCAM6. SENFL 1

Olea CE eroyan Oho hake)

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 38 of 62

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 39 of 62

BME |
Bev

 

 

 

2021-0106 ISOCAMG\SENFL 1

TCG 14:58'32:24

 

 

Oe ei pele

021_01_06_ISOCAM6_SEN aie

[CG 15:07:47:49

8)

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 40 of 62

/: eo
2 Vu bi $

 

 

P021_01_06_ISOCAM6_SENFL_1

TCG 15;07;58;05

‘6 —

 

 

021_01_06_ISOCAM6_SENFL_1

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 41 of 62

021 01_06-ISOCAM8_SENFL eames Ae
TCG 15;11;56;42

 

 

1%

|
—

OPE IMUM IMM ISoLer VP UkS =) (sla

ICG 14;54;24;39

 

)

 
Case 1:21-cr-00386-TNM Document 113

Pyihi I ip Ao3-

Filed 02/22/22 Page 42 of 62

—

Tafa Ca tas aL aa Lab he

|

021_01_06_ISOCAM4_SENFL_2

IGG 18:08:53:14

Opamoy (se SOCAM4_SE NFL_2

OCR te rahe Ol penis)

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 43 of 62

Exh bt as

P021-01-06-ISOCAM5_SENFL-1

TCG 14;44;39:39

 

10a MOO See) 7

{) as

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 44 of 62

Lxh; b af

ele

(ame

Pee

ielels

Lal

ya

 

ied ahha
—
Ru

At

 

ah we
Bh Bat

)21_01_06_ISOCAMS5_SENFET _
TCG 15;10;29;06

 

 

 

 

 

 

 

 

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 45 of 62

mo MOTH ISC0@r-N\) cits | Ik
TCG 15'08;58:19

©

 

if , [

021.01.06.ISOCAM6-SENFL.1 ’

TCG 15;09;31:26

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 46 of 62

ae

 

 

i Lis

021.01.06. ISOCAM6.SENFET.
TCG 15;10;11;06

 

 

a Vig

aml
PB ae

OPS ROM ISele\Wksa\ aan ; '
TCG 15;10;32:16

 

Cee riby

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 47 of 62

“Hy?” iri) Le

 

2021_01_06_ ISOCAM8_SENFL arenttncnen

 

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 48 of 62

LEP yr

a

 

0210106 ISOCAMBSENFL

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 49 of 62

aac

2021-01_06_ISOCAM8-SENFL

TCG 14;51;45)12

 

r021_01_06_ISOCAM8_SENFL an
TCG 15)07;23;52

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 50 of 62

P021_01_06_ISOCAM6_SENFL.1

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 51 of 62

cVhibit 3 |

 

 

N21_01_06_ISOCAM8_SENFL

Oem E ey sow

 

 

021_01_06_ISOCAM8_SENFL

TCG 15;00;21;15

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 52 of 62

2021_01_06_ISOCAM8_SENFL

TCG 15:04;49;12

 

021_01_06_ISOCAM8_SENFL Peek
TCG 15:04;57:42

 

eo

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 53 of 62

EX hub ue 24

P021_01_06_ISOCAM8_SENFL
TCG 15;07;24:45

 

 

 

2021_01_06_ISOCAM8_SENFL

TCG 15:07:59:11

 

©) eee

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 54 of 62

)21_01.06-ISOCAMS. SENFL 1
TCG 15:08:12'53

 

 

 

021_01_06_ISOCAM8_SENFL : s
TCG 15;08;58;11

 

 
Be 32 1- Boe -TNM Document 113 Filed 02/22/22 Page 55 of 62

Exh

Travis Coley MPD. Body Cam Video

 

ta |

} o
P|

0959 USC 02 Rotunda South = 2021-01-06 _15h01m56s=15h07m00s

 
ss LE 2A. 218) 00386- -TNM Document 113 Filed 02/22/22 Page 56 of 62
“LOA /

7

 

 

0960 USC 02 Rotunda North - 2021-01-06 14h51m40s-14h57m37s

 

ae

 
Case pet “GOH 386- -TNM Document 113 Filed 02/22/22 Page 57 of 62

eh

Matthew Lapitsky MPD. CLIP. Body Cam Video. 145635-145959

CQ) —
AP PT MT TRB Ja ele 151)
ve To) aie) CCE ba

 

 

eee

atthew Lapitsky MPD. CLIP, Body Cam Video. 145635-145959

 

oe =

 
aie 1:24-cr980386-TNM Document 113 Filed 02/22/22 Page 58 of 62
¢ é

if Pea Ry
CCRELE Oa i >”

Matthew Lapitsky MPD. CLIP. Body Cam Video. 145635-145959

o>

a ra
PREC eWay ee 1)
COE ae LEILA

a

 

Ln tr]

 

 

4 a

Pa

Le’
N >

Marina Bronstein. 20210106-RIOTOUS_ACTS-US_CAPITOL_COMPLEX-4

 

oe

 
Case 1:21-cr-00386-TNM Document 113 Filed 02/22/22 Page 59 of 62

a a
‘ A, be {— Zt

Nednesday, January 06, 2021 3:08:09 PM

vednesday, January Ut

 

Phy wood! mm Whe open of whe

funnel wW Wh Wooden s/ats
p-1:2 Tee -
eX batet Keil ED p06 TNM Document 113 Filed 02/22/22 Page 60 of 62

ednesday, January 06, 2021 3:11:25 PM

ea 4

-FL_010621.1230.1329.TC snc oa le @)

 
h, - Lor ae Document 113 Filed 02/22/22 Page 61 of 62

ia

\

2021-01-06 14:09:08 -0500 WN :
AXON BODY 3 X6@39BD07" a

\\

 

te)

a

 
SG # 21-66 09386-TNM Document 113 Filed 02/22/22 Page 62 of 62

Lx be

¢

UUM or Mire EMD oot ni cular Ora MO ROCs ara SSRIS Pay ess

 
